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        IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                  SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

  IN RE:                                            §      CASE NO. 25-30155
                                                    §
  ALLIANCE FARM AND RANCH, LLC,                     §      (CHAPTER 11)
                                                    §
         DEBTOR                                     §
                                                    §
  IN RE:                                            §      CASE NO. 25-31937
                                                    §
  ALLIANCE ENERGY PARTNERS, LLC,                    §      (CHAPTER 11)
                                                    §
         DEBTOR                                     §
                                                    §


                   STIPULATION AND AGREED ORDER
           EXTENDING THE OBJECTION DEADLINE REGARDING
      APPLICATION FOR APPROVAL OF EMPLOYMENT OF OKIN ADAMS
          BARTLETT CURRY, LLP AS COUNSEL FOR DEBTORS AND
       APPLICATION FOR COMPENSATION AND REIMBURSEMENT OF
     EXPENSES FOR THE PERIODS MARCH 14, 2025 THROUGH MAY 23, 2025
      (ALLIANCE FARM AND RANCH, LLC) AND APRIL 7, 2025 THROUGH
            MAY 23, 2025 (ALLIANCE ENERGY PARTNERS, LLC)
                           [Related to Doc No. 130]

       This Stipulation (“Stipulation”) is entered into by (a) Tom A. Howley in his capacity as the

chapter 11 trustee (the “Trustee”) in the above-numbered and styled bankruptcy proceedings; and

(b) Okin Adams Bartlett Curry, LLP (“Okin Adams”) (together the “Parties”). The Parties hereby

stipulate and agree as follows:

       WHEREAS, the Trustee was appointed on May 27, 2025 at Docket No. 115.

       WHEREAS, on June 4, 2025 Okin Adams f iled its Application for Approval of

Employment of Okin Adams Bartlett Curry, LLP as Counsel for Debtors and Application for

Compensation and Reimbursement of Expenses for the Periods March 14, 2025 Through May 23,

2025 (Alliance Farm and Ranch, LLC) and April 7, 2025 Through May 23, 2025 (Alliance Energy

Partners, LLC) (the “Application”).


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        WHEREAS, the deadline to object to the Application is June 25, 2025 (“Objection

Deadline”).

        WHEREAS, the Parties have agreed that the Objection Deadline should be extended to

July 9, 2025 (“Extended Objection Deadline”) for the Parties to this Stipulation.

        NOW, THEREFORE, the Parties hereby stipulate and agree and it is ORDERED that:

        1.      The foregoing recitals are hereby incorporated by reference into this Stipulation

with the same force and effect as if fully set forth hereinafter.

        2.      Unless otherwise agreed to by the parties by separate stipulation, the Extended

Objection Deadline of July 9, 2025 shall be the objection deadline for the Parties to this Stipulation

regarding Okin Adam’s Application.

        3.      The provisions of this Stipulation shall be binding on the Parties and their

successors, heirs, and assigns and shall inure to the benefit of the Parties and their successors

and assigns.

        4.      Each person who executes this Stipulation on behalf of a Party hereto represents

that he or she is duly authorized to execute this Stipulation and agrees to the terms set forth herein.

        5.      This Stipulation shall be effective and enforceable immediately upon entry of this

Stipulation, in accordance with its terms.

       6.       The Bankruptcy Court retains jurisdiction with respect to the implementation of

this Stipulation, and the Parties hereby consent to such jurisdiction to resolve any disputes or

controversies with respect to this Stipulation.

Signed: ____________________, 2025
        Houston, Texas

                                                  ____________________________________
                                                  ALFREDO R. PEREZ
                                                  UNITED STATES BANKRUPTCY JUDGE


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Dated: June 18, 2025

/s/ Eric Terry
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Texas Bar No. 00794729
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Proposed Counsel for Tom A. Howley –
Trustee

- and -

OKIN ADAMS BARTLETT CURRY
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Proposed Attorneys for the Debtor



                                CERTIFICATE OF SERVICE

        I certify that on June 18, 2025, I caused a copy of the foregoing document to be served by
electronic transmission to all registered ECF users appearing in these cases.

                                          /s/ Eric Terry
                                          Eric Terry




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